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                           Addendum to Amended Proof of Claim
       445 Hollywood Avenue LLC (“445 Hollywood”) is a creditor of the debtor, YRC Inc.
(“Debtor”).
       445 Hollywood is entitled to a pre-petition claim in the amount of $63,401.25 against the
Debtor based on unpaid rent for the month of August 2023 and unpaid 3rd Quarter property taxes
pursuant to the lease agreement entered into by Hollywood Properties, LLC and the Debtor on
April 15, 2014 (the “Lease Agreement”). A true and correct copy of the Lease Agreement is
attached hereto as Exhibit “A”. This pre-petition claim is secured in the amount of $71,000.00,
which is the security deposit funds currently being held by 445 Hollywood. 445 Hollywood is the
successor-in-interest to Hollywood Properties, LLC by virtue of purchase of the subject property.

        445 Hollywood reserves the right to file a rejection damages claim as to any rejection in
addition to this Proof of Claim. In the event that the Debtor seeks to assume and assign the Lease
Agreement, an express waiver of potential preference claims is required by all debtor entities,
including Yellow Corp. Moreover, 445 Hollywood hereby reserves all of its rights to amend this
claim to add any additional matters and/or correct any information contained therein.

        Nothing herein shall be construed as an admission or acceptance of any liability to any
party, or the Debtor, on the part of 445 Hollywood, all rights, defenses, and/or objections to any
such liability being expressly reserved by 445 Hollywood.




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